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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                     FLORENCE DIVISION


Amanda Landi and John Landi,                       CIVIL ACTION NO.: 4:21-cv-03322-JD

               Plaintiff,

               v.                                   NOTICE OF VOLUNTARY DISMISSAL
                                                            OF DEFENDANTS
 Derek Stum and VL Trucking, Inc.,

               Defendants.


       Plaintiffs, Amanda Landi and John Landi, by and through the undersigned counsel, pursuant

to Rule 41(a), and prior to any responsive pleading filed by the Defendants, files this Notice of

Voluntary Dismissal of Defendants Derek Stum and VL Trucking, Inc. with each party to bear its

own costs.



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March 21, 2022
Charleston, South Carolina




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